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                            UNITED STATES BANKRUPTCY COURT

                              EASTERN DISTRICT OF LOUISIANA

                                       *
   IN RE:                              *                        CASE NO.: 17-12870
                                       *
   REILLY-BENTON COMPANY, INC., *                               SECTION “A”
                                       *
               Debtor                  *                        CHAPTER 7
                                       *
   *************************************

                                                ORDER

          Upon considering the Consent Motion to Reschedule Status Conference and Briefing

   Deadline [ECF No. 93] filed by The Landry & Swarr Creditors,

          IT IS ORDERED that the Motion is granted and the Status Conference set for Tuesday,

   January 19, 2021, at 1:00 p.m. is rescheduled for Tuesday, January 26, 2021 at 1:30 p.m. The

   parties shall participate by phone and dial in at 1(888) 684-8852, Access Code: 9318283.

          IT IS FURTHER ORDERED that supplemental briefs on the procedural issues may be

   filed no later than Thursday, January 21, 2021.

          IT IS FURTHER ORDERED that movant shall serve a copy of this Order on the required

   parties who will not receive notice through the ECF System pursuant to the Federal Rules of

   Bankruptcy Procedure and the Local Bankruptcy Rules and file a certificate of service to that effect

   within three (3) days.

          New Orleans, Louisiana, January 15, 2021.



                                                 MEREDITH S. GRABILL
                                                 UNITED STATES BANKRUPTCY JUDGE
